
In re: Victor E. Coursey, Jr. applying for Supervisory Writ of Certiorari and Mandamus. 329 So.2d 481.
Writ and stay order denied. This court will not interfere with the orderly proceedings in the trial court in the absence of a showing of irreparable injury. There is no showing of such injury as in our opinion warrants our staying the Sheriff’s sale scheduled for Jan. 7. Relator has a remedy by appeal from the trial court’s granting plaintiff’s judgment of dismissal without prejudice. Nor shall this writ denial in any way prejudice defendant-relator’s properly asserted defenses to the initial and/or subsequent petitions for deficiency judgment if any such defenses exist.
